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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA,         )
                                   )            Case No.
         Plaintiff,                )
                                   )
         v.                        )
                                   )
 FREDERICK CORTEZ LEE, JR.,        )
                                   )
         Defendant.                )
 _________________________________)

                                   COMPLAINT

      Plaintiff, the United States of America, by and through undersigned counsel,

alleges as follows:

      1.      The United States brings this action to obtain a monetary judgment

against Defendant Frederick Cortez Lee, Jr., for his unpaid federal income tax

liabilities for the 2006 and 2007 tax years.

      2.      This action is brought at the direction of the Attorney General of the

United States and at the request and authorization of the Chief Counsel of the

Internal Revenue Service, a delegate of the Secretary of the Treasury, under 26

U.S.C. § 7401.

      3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§

1340, 1345 and 26 U.S.C. § 7402(a).
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        4.      Venue is appropriate in this Court pursuant to 28 U.S.C. §§ 1391and

1396 because Lee resides in Gwinnett County, Georgia, within the jurisdiction of

this Court.

        5.      Lee voluntarily filed his federal income tax returns for the 2006 and

2007 tax years as married filing separate.

        6.      Lee filed his 2006 federal income tax return after its due date. He filed

his 2007 federal income tax return timely on extension.

        7.      Despite voluntarily filing his federal income tax returns for the 2006

and 2007 tax years, Lee failed to pay in full the federal income tax he reported on

those returns.

        8.      Consequently, a delegate of the Secretary of the Treasury assessed

against Lee federal income tax, penalties, and interest on the dates and in the

amounts set forth in the following table:

 Tax Assessment      Tax        Interest                            Penalties
 Year    Date
 2006 3/19/2012 $2,215,866.00 $602,962.76                  $45,793.00 (estimated tax
                                                                   penalty)
 2007        12/01/2008 $2,156,684.00      $64,462.26      $85,739.45 (estimated tax
                                                                   penalty)
                                                           $75,060.54 (late payment
                                                                   penalty)

        9.      A delegate of the Secretary of the Treasury gave notice of the unpaid

assessments described in paragraph 8 to Lee and made demands for payment as



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required by law. Despite notice and demand, Lee has failed and refused to pay in

full the tax liabilities described in paragraph 8.

      10.     On May 21, 2018, Lee petitioned for protection under Chapter 7 of the

Bankruptcy Code (11 U.S.C.). That case is styled as In re Frederick Cortez Lee,

Jr., Bk. No. 18-58424-BEM (Bankr. N.D. Ga.).

      11.     Lee received his discharge on January 31, 2019.

      12.     After receiving his discharge, Lee commenced an adversary

proceeding to determine whether his federal income tax liabilities for the 2002

through 2007 tax years were discharged through his bankruptcy. The adversary

proceeding is styled as Frederick Cortez Lee, Jr. v. United States, Adv. No. 19-

4024-BEM (Bankr. N.D. Ga.).

      13.     Lee and the United States resolved the adversary proceeding through a

settlement.

      14.     Under the settlement agreement, the parties agreed that Lee’s federal

income tax liabilities for the 2002 through 2005 tax years were discharged and that

his federal income tax liabilities for the 2006 and 2007 tax years were excepted

from discharge under 11 U.S.C. § 523(a)(1)(C).

      15.     Although Lee’s 2006 and 2007 federal income tax liabilities are

excepted from discharge, the penalties assessed against Lee for the 2006 and 2007




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tax years, plus the interest on penalties, were discharged through his bankruptcy.

See 11 U.S.C. § 523(a)(7).

      16.    The Bankruptcy Court entered a consent judgment in the adversary

proceeding reflecting the parties’ settlement agreement on July 28, 2020. See Lee

v. United States, Adv. No. 19-4024-BEM (Bankr. N.D. Ga.), ECF No. 30.

      17.    Because Lee’s 2006 and 2007 federal income tax liabilities were

excepted from discharge, he remains personally liable for his unpaid federal

income tax liabilities for 2006 and 2007.

      18.    Taking into account all payments, credits, and abatements—including

the discharge of the penalties assessed against him for the 2006 and 2007 tax years,

plus the interest on penalties, through his bankruptcy proceeding—Lee owes

$7,058,900.57, as of July 12, 2020, for his unpaid federal income tax liabilities for

the 2006 and 2007 tax years, plus fees, interest, and all statutory additions

thereafter provided by law.

      19.    The limitations period to collect Lee’s tax liability for the 2007 tax

year was extended by Lee’s two bankruptcy proceedings. Lee’s first bankruptcy

was pending from February 1, 2011 to May 17, 2011. See In re Lee, Bk. No. 11-

53285 (Bankr. N.D. Ga.). Under 26 U.S.C. § 6503(h), the statute of limitations on

collection of Lee’s 2007 federal income tax liability was suspended for the

duration of this bankruptcy, plus six months.


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       20.     Lee’s second bankruptcy was pending from May 21, 2018 to January

31, 2019. See In re Frederick Cortez Lee, Jr., Bk. No. 18-58424-BEM (Bankr.

N.D. Ga.). Under 26 U.S.C. § 6503(h), the statute of limitations on collection of

Lee’s 2007 federal income tax liability was suspended for the duration of this

bankruptcy, plus six months.

       21.     As a result of Lee’s two bankruptcy proceedings, the limitations

period to collect his 2007 federal income tax liability has not expired, and this

action to collect his liability is timely.

       WHEREFORE, the Plaintiff, United States of America, prays for the

following relief:

       A.      That the Court enter judgment in favor of the United States of

America and against Frederick Cortez. Lee, Jr. for his unpaid federal income tax

liabilities for the 2006 and 2007 tax years in the amount of $7,058,900.57, as of

July 12, 2020, plus fees, interest, and statutory additions thereafter as provided by

law; and

       B.      That the United States have such other and further relief as the Court

may deem just and proper.

       Dated: August 21, 2020.

                                         Respectfully submitted,

                                         RICHARD E. ZUCKERMAN
                                         Principal Deputy Assistant Attorney General
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                                   /s/ Thomas K. Vanaskie
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                    CERTIFICATE OF COMPLIANCE

     I certify that this document is formatted in Times New Roman 14 pt., in

compliance with Local Rule 5.1C.

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